                                Case
 Fill in this information to identify the 13-28345
                                          case:                 Doc      Filed 08/14/19             Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Christopher M DeSimone
             __________________________________________________________________

 Debtor 2              Christine DeSimone
                       ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Baltimore                          Maryland
                                         ______________________ District of __________
                                                                             (State)
 Case number            13-28345-DER
                       ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                 10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                              U.S. Bank Trust National Association, as
                                                                                                              Court claim no. (if known):
 Name of creditor: Trustee of the Igloo Series III Trust
                      ______________________________________                                                  4
                                                                                                              _________________
                                                                                        1
                                                                                       ____   7 ____
                                                                                            ____ 4 ____
                                                                                                     5
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                1330 Fishing Creek Road
                                 ________________________________________________
                                 Number      Street

                                 _______________________________________________

                                  Annapolis, Maryland 21403
                                 ________________________________________________
                                 City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  X
        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

  
  X     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                 14,196.56
                                                                                                                            (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)      0.00
                                                                                                                                  $ __________

        c. Total. Add lines a and b.                                                                                        (c)     14,196.56
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              11    1     2018
                                                                                 ____/_____/______
        due on:                                                                  MM / DD   / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                     page 1
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Debtor 1        Christopher M DeSimone
                _______________________________________________________                                                13-28345-DER
                                                                                               Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  X
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                 /s/ Joshua Welborn, Esquire
                   Signature
                                                                                               Date     08 14 2019
                                                                                                       ____/_____/________




 Print             Joshua  Welborn, Esq.
                   _________________________________________________________                   Title    Attorney for creditor
                                                                                                       ___________________________________
                   First Name                      Middle Name         Last Name




 Company            McCabe, Weisberg & Conway, LLC
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           312 Marshall Ave, Suite 800
                   _________________________________________________________
                   Number                 Street


                    Laurel, MD 20707
                   ___________________________________________________
                   City                                                State        ZIP Code



                     301        490           3361                                                   bankruptcymd@mwc-law.com
 Contact phone     (______) _____– _________                                                   Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                        page 2
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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of August, 2019 I reviewed the Court’s CM/ECF

system and it reports that an electronic copy of the foregoing pleading will be served

electronically by the Court’s CM/ECF system on the following:


Robert S. Thomas, II
300 E. Joppa Road
Suite 409
Towson, MD 21286


Diana L. Klein
Klein & Associates, LLC
2450 Riva Road
Annapolis, MD 21401


I hereby further certify that on the 14th day of August, 2019, a copy of the foregoing pleading was

also mailed first class mail, postage prepaid to:



Christopher M DeSimone
1330 Fishing Creek Road
Annapolis, MD 21403
(Via U.S Mail)

 and

Christine DeSimone
1330 Fishing Creek Road
Annapolis, MD 21403
(Via U.S Mail)


                                               /s/ Joshua Welborn, Esq.
                                               Joshua Welborn, Esq.
